






NO. 07-03-0446-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



NOVEMBER 7, 2003



______________________________




CAMIL KREIT, M.D. AND SAMIR KREIT, M.D., APPELLANTS



V.



CHARLOTTE FOREMAN, APPELLEE




_________________________________



FROM THE 253RD DISTRICT COURT OF LIBERTY COUNTY;



NO. 56,121; HONORABLE CHAP B. CAIN, III, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Pursuant to appellants' Unopposed Motion to Dismiss for Want of Jurisdiction based
on the trial court's order vacating the final judgment from which this appeal was perfected,
the appeal is dismissed for want of jurisdiction.

	Without passing on the merits of the case, the appellant's unopposed motion for
dismissal is granted and the appeal is hereby dismissed.  Tex. R. App. P. 42.1.  All costs
having been paid, no order pertaining to the costs is made.  Having dismissed the appeal
at the appellant's request, no motion for rehearing will be entertained and our mandate will
issue forthwith.  


								Phil Johnson

								Chief Justice





ial', sans-serif"&gt;FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;

NO. 53,792-E; HONORABLE ABE LOPEZ, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
ON ABATEMENT AND REMAND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Andy DeWayne Posey, appeals his conviction for possession of a
controlled substance in a drug free zone, enhanced, and sentence of 40 years
incarceration in the Institutional Division of the Texas Department of Criminal Justice.  On
April 11, 2008, the clerk’s record was filed in this cause.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The clerk’s record does not contain a certification by the trial court of appellant’s
right of appeal under Texas Rule of Appellant Procedure 25.2(d).  Rule 25 requires the trial
court to enter such a certification “each time it enters a judgment of guilt or other
appealable order.”  Tex. R. App. P. 25.2(a)(2). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Consequently, we abate this appeal and remand the cause to the trial court for
further proceedings.  On remand, the trial court shall utilize whatever means necessary to
secure a Certification of Defendant’s Right of Appeal in compliance with Texas Rule of
Appellate Procedure 25.2(d), regarding appellant’s appeal of the trial court’s judgment. 
Once executed, the certification shall be included in a supplemental clerk’s record and filed
with this Court on or before May 28, 2008.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam
&nbsp;
Do not publish.


